Case 23-13359-VFP                Doc 2720    Filed 11/27/23 Entered 11/27/23 16:16:36                     Desc Main
                                            Document     Page 1 of 2



 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)
 Robert J. Feinstein
 Bradford J. Sandler
 Paul J. Labov
 Colin R. Robinson
 Edward A. Corma
 PACHULSKI STANG ZIEHL & JONES LLP
 780 Third Avenue, 34th Floor
 New York, NY 10017
 Telephone: (212) 561-7700
 Facsimile: (212) 561-7777
 rfeinstein@pszjlaw.com
 bsandler@pszjlaw.com
 plabov@pszjlaw.com
 crobinson@pszjlaw.com
 ecorma@pszjlaw.com
 Counsel to the Plan Administrator

 In re:                                                             Chapter 11

 BED BATH & BEYOND INC., et al., 1                                  Case No. 23-13359 (VFP)

                                     Debtors.                       (Jointly Administered)


                  JOINDER OF THE PLAN ADMINISTRATOR TO
           REPLY OF OLLIE’S BARGAIN OUTLET, INC. IN SUPPORT OF THE
          ASSUMPTION AND ASSIGNMENT OF A CERTAIN UNEXPIRED LEASE

                    Michael Goldberg, as plan administrator (the “Plan Administrator”), 2 joins the

 Reply of Ollie’s Bargain Outlet, Inc. in Support of the Assumption and Assignment of a Certain




 1
     The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
     the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
     website of the Debtor’s proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The
     location of Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these
     chapter 11 cases is 650 Liberty Avenue, Union, New Jersey 07083.
 2
     The Plan Administrator has been appointed pursuant to the Debtors’ Plan, as defined herein. The Plan
     Administrator is responsible for and has the authority to administer certain post-confirmation responsibilities
     under the Plan on behalf of the Reorganized Debtors.



 DE:4857-6415-7843.1 08728.003
Case 23-13359-VFP                Doc 2720     Filed 11/27/23 Entered 11/27/23 16:16:36                      Desc Main
                                             Document     Page 2 of 2



 Unexpired Lease [Docket No. 2713] (the “Reply”) 3 filed by Ollie’s Bargain Outlet, Inc.

                                                       Joinder

                    1.           For the reasons set forth in the Reply, the Plan Administrator respectfully

 requests that the Court grant the relief requested in the Reply, overrule the Initial Objection and

 the Objection, and enter an order approving assumption of the Lease by the Debtors and the

 Assignment thereof to Ollie’s.

                    2.           The Plan Administrator reserves all rights to make any further arguments in

 support of this Joinder and the Reply at any hearing scheduled on this matter.

                    WHEREFORE, for the reasons set forth in the Reply, the Plan Administrator

 respectfully requests that the Court: (i) grant the relief requested in the Reply; and (ii) grant such

 other and further relief as the Court deems proper and just.


 Dated: November 27, 2023                      /s/ Bradford J. Sandler
                                              Robert J. Feinstein
                                              Bradford J. Sandler
                                              Paul J. Labov
                                              Colin R. Robinson
                                              Edward A. Corma
                                              PACHULSKI STANG ZIEHL & JONES LLP
                                              780 Third Avenue, 34th Floor
                                              New York, NY 10017
                                              Telephone:      (212) 561-7700
                                              Facsimile:      (212) 561-7777
                                              Email:          rfeinstein@pszjlaw.com
                                                              bsandler@pszjlaw.com
                                                              plabov@pszjlaw.com
                                                              crobinson@pszjlaw.com
                                                              ecorma@pszjlaw.com
                                              Counsel to the Plan Administrator




 3
     Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Reply.


                                                          2
 DE:4857-6415-7843.1 08728.003
